                          UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 (Western Division)

                                                   )
ESTATE OF JADA JOHNSON; L.J., the minor            ) Civil Action No. 5:23-cv-180-D-RN
daughter of Jada Johnson; RICHARD                  )
IWANSKI, individually, as executor of the          ) Judge: Hon. James C. Dever, III
Estate of Jada Johnson and guardian of L.J.; and   )
MARIA IWANSKI, individually, as executor of        )
the Estate of Jada Johnson and guardian of L.J.,   )
                                                   )
                      Plaintiffs,                  )
                                                   )
       v.                                          )
                                                   )
SERGEANT TIMOTHY RUGG                              )
individually; OFFICER ZACHARIUS BOROM,             )
individually; and JOHN AND JANE DOE’S 1-           )
100, City of Fayetteville employees and police     )
officers,                                          )
                                                   )
                  Defendants.                      )
_______________________________________            )

                                    ORDER
                        PLAINTIFFS’ JOINT MOTION FOR
                DISCOVERY ORDER & CONSENT PROTECTIVE ORDER
        Having considered Plaintiffs’ Joint Motion for Discovery Order & Consent Protective

 Order, it is HEREBY ORDERED that:

    I. The parties’ Joint Motion for Discovery Order is GRANTED, wherefore Child

        Advocacy Center, located at 222 Rowan St, Fayetteville, North Carolina 28301,

        SHALL SERVE ON PLAINTIFFS’ COUNSEL L.J.’S MENTAL HEALTH

        RECORDS FROM JULY 1, 2022, TO PRESENT; and

    II. The parties’ Joint Motion for Consent Protective Order is GRANTED, safeguarding the

        aforementioned records.




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      IT IS SO ORDERED.

DATED: ____________________________.
                                       _______________________________
    Dated: March 31, 2025
                                       Judge Presiding
                                        ______________________________________
                                        Robert T. Numbers, II
                                        United States Magistrate Judge




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